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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

                                               )
 JANE DOE,                                     )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )       Case No. 1:18-cv-614 (LOG/MSN)
                                               )
 FAIRFAX COUNTY SCHOOL BOARD,                  )
                                               )
        Defendant.                             )
                                               )

                       PLAINTIFF JANE DOE’S NOTICE OF APPEAL

        Notice is given that Plaintiff Jane Doe appeals to the United States Court of Appeals for

 the Fourth Circuit the Judgments entered on August 9, 2019 (Docket No. 328) and September 27,

 2019 (Docket No. 353) and related Orders regarding post-trial motions entered on September 27,

 2019 (Docket No. 352) and October 23, 2019 (Docket No. 366), stemming from the jury trial held

 by this Court on July 29, 2019 through August 9, 2019 (Docket Nos. 283, 285, 287, 288-294, 296-

 300, 307-309, 310, 314, 317-319, 320, 322, 324, 325, 326-328), and the Court’s jury instructions

 (including instructions not given), replies to jury questions (including responses not provided to

 jury questions), and related Orders and decisions that occurred within the trial.

 Date: October 24, 2019                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 24, 2019 I filed the foregoing using the CM/ECF system,
 which will send electronic notice to Defendant’s counsel of record:

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